               Case 19-20053-jra        Doc 18     Filed 03/01/19     Page 1 of 2



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

  In Re:                 IRIS KELLY,                     )
                                                         )    CASE NO. 19-20053
                                                         )    CHAPTER 7
                                            Debtor.      )

                  MOTION FOR REDEMPTION UNDER 11 U.S.C. §722

      COMES NOW the Debtor, by and through her attorney, Miguel F. Martinez of Law Offices
of Moseley & Martinez, LLC, and moves this Honorable Court pursuant to 11 U.S.C. §722 and
Bankruptcy Rule 6008 for a Redemption Order and states in support thereof:

   1.      The item to be redeemed is tangible personal property intended primarily for personal,
           family, or household use, and is more particularly described as 2016 GMC Light Duty
           Terrain, VIN # 2GKALMEK5G6184418.

   2.      The interest of the Debtor in such property is exempt or has been abandoned by the
           estate and the debt which is secured by said property to the extent of the allowed
           secured claim of the Creditor is a dischargeable consumer debt.

   3.      The allowed secured claim of Santander Consumer USA, for purposes of redemption,
           should be determined to be not more than $14,313.00 as evidenced by the Vehicle
           Condition Report attached hereto as Exhibit A and incorporated as is fully stated herein.

   4.      Arrangement has been made by the Debtor to pay Santander Consumer USA up to the
           aforesaid amount in a lump sum should this order of redemption be entered.

   5.      The 2016 GMC Light Duty Terrain is of inconsequential value or benefit to the
           estate.

        WHEREFORE, DEBTOR prays that this Honorable Court enter an order:

   A.      Requiring Santander Consumer USA to accept from Debtor the lump sum payment of
           $14,313.00 the redemption value, and;

   B.      Requiring Santander Consumer USA to release its lien of record against the 2016 GMC
           Light Duty Terrain, VIN # 2GKALMEK5G6184418 in question, and;

   C.      Allowing Debtor to redeem the subject property by paying to the creditor the
           redemption amount on or before the 30th day following entry of the order
             Case 19-20053-jra   Doc 18   Filed 03/01/19       Page 2 of 2



                                     Respectfully submitted,

Date: March 1, 2019                   /s/ Miguel F. Martinez
                                      Miguel F. Martinez, Esq.
                                      Law Offices of Moseley & Martinez, LLC
                                      1559 E. 85th Ave.
                                      Merrillville, IN 46410
                                      219-472-8391


                          CERTIFICATE OF SERVICE

I CERTIFY THAT ON March 1, 2019, SERVICE OF A TRUE AND COMPLETE COPY OF
THE FOREGOING MOTION FOR REDEMPTION UNDER 11 U.S.C. §722 HAS BEEN
SERVED UPON: SEE BELOW BY ELECTRONIC FILING OR BY DEPOSITING THE SAME
IN THE UNITED STATES MAIL PROPERLY ADDRESSED AND WITH SUFFICIENT FIRST
CLASS POSTAGE AFFIXED.

Date: March 1, 2019                  /s/ Miguel F. Martinez
                                     Miguel F. Martinez, Esq.
                                     Law Offices of Moseley & Martinez, LLC
                                     1559 E. 85th Ave.
                                     Merrillville, IN 46410
                                     219-472-8391

U.S. TRUSTEE                         US BANKRUPTCY COURT
1 MICHIANA SQUARE                    OFFICE OF THE CLERK
100 EAST WAYNE STREET                5400 FEDERAL PLAZA
SOUTH BEND, IN 46601                 HAMMOND, IN 46320
TRUSTEE KENNETH A. MANNING           SANTANDER CONSUMER USA
200 MONTICELLO DR.                   HIGHEST RANKING OFFICER
DYER, IN 46311                       PO BOX 961245
                                     FT WORTH, TX 76161
